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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                Plaintiff,

         v.
                                                                 Civ. A. No. 23-882 (CJN)
 ALL PETROLEUM-PRODUCT CARGO
 ABOARD THE SUEZ RAJAN WITH
 INTERNATIONAL MARITIME NUMBER
 9524475,

                Defendant in Rem.


              DEFAULT JUDGMENT AND FINAL ORDER OF FORFEITURE

       On March 31, 2023, the United States of America filed a Verified Complaint for Forfeiture

In Rem against the Defendant Property. D.E. 1. The Verified Complaint alleges that the Defendant

Property is subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(G), as a domestic and foreign

asset of the Islamic Revolutionary Guard Corps (“IRGC”) and the Islamic Revolutionary Guard

Corps-Qods Forces (“IRGC-QF”), both designated foreign terrorist organizations, which have

engaged in planning and perpetrating federal crimes of terrorism as defined in 18 U.S.C.

§ 2332b(g)(5) against the United States, citizens or residents of the United States, or their property

and as property that affords persons (including, without limitation, the National Iranian Oil

Company (“NIOC”), the National Iranian Tanker Company (“NITC”), the Iranian Oil Terminals

Company (“IOTC"), and the National Iranian South Oil Company (“NISOC”)) sources of

influence for the IRGC and the IRGC-QF within the meaning of 18 U.S.C. § 981(a)(1)(G)(i). The

Verified Complaint also alleges that the Defendant Property is subject to forfeiture pursuant to 18

U.S.C. § 981(a)(1)(A) as property involved in and/or facilitating a violation of 18 U.S.C.

§ 1956(a)(2)(A), and any property traceable to such property.
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       It appearing that process was fully issued in this action and returned according to law:

       1.      On March 31, 2023, the United States of America commenced this action through

               the filing of a Verified Complaint or Forfeiture In Rem. D.E. 1.

       2.      On April 10, 2023, the Court made a probable cause finding and issued a warrant

               for arrest in rem. D.E. 5.

       3.      On September 15, 2023, and September 16, 2023, direct notice of this forfeiture

               action was provided to Ocean Park Limited through fifteen different email

               addresses and two physical addresses in Hong Kong and India. See D.E. 12-1.

       4.      On September 12, 2013, notice was posted on an official internet government

               forfeiture site, for 30 consecutive days, in compliance with Supplemental Rule

               G(4)(b)(iv)(C). See D.E. 30; 32-2.

       All persons interested in one or more of the Defendant Properties were required to file their

claims with the Clerk of the Court at least 35 days after direct notice was sent or no later than 60

days after the first day of publication on the official internet government forfeiture site. See Fed.

R. Civ. P. Supp. R. G(4)(b)(ii)(B) (direct notice); G(5)(a)(ii)(B) (notice by internet publication).

       As of the date of this filing, no party has filed a claim in response to direct or publication

notice and the time for any party to file a claim has expired.

       NOW, THEREFORE, upon Motion of the Plaintiff, United States of America, for Default

Judgment and Final Order of Forfeiture,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED

       1.      That default judgment is hereby entered against all persons or entities claiming an

interest in the Defendant Property.



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        2.      That the Defendant Property shall be forfeited to the United States of America and

no right, title, or interest in the following property shall exist in any other entity or person.

        3.      Title to the Defendant Property is vested solely in the United States.

        4.      That the Defendant Property shall be disposed of according to law.

        5.      That no additional action is required, and this matter is dismissed and stricken from

the active docket.




                                                                Hon. Carl J. Nichols
                                                                District Judge
                                                                United States District Court




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